Case 1:17-cr-00010-RBJ Document 20 Filed 12/19/16 USDC Colorado Page 1 of 1

 

 

 

 

FILED
US DISTRICT COURT
SST See Oa
UNITED STATES DISTRICT COURT c pee 19 AMI: 25
for the
District of Colorado EPP a “oh nO WELL
United States of America ) BY DEP. CLK
Vv. )
SV
) Case No. - 7_-Pil -
JOSHUA GENE EALY, ) (6-M J-0 $5
)
Defendant )
ARREST WARRANT

TO: Any authorized law enforcement officer
YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary

 

delay (name of person to be arrested) JOSHUA GENE EALY
who is accused of an offense or violation based on the following document filed with the court:
[Indictment [_]Superseding Indictment (Information [1Superseding Information [Complaint

[ Probation Violation Petition [Supervised Release Violation Petition []Violation Notice [JOrder of the Court

This offense is briefly described as follows:

Knowingly and intentionally conspire to distribute and to possess with the intent to distribute 100 grams and
more of a mixture and substance containing a detectable amount of heroin, a Schedule I controlled substance,
in violation of Title 21, United States Code, Sections 841(a)(1) and (b)(1)(B), all in violation of Title 21,
United States Code, Section 846

Date: 12/15/2016 LH kK{L4—

 

 

 

“ Issuing officer’s signature
City and state: Denver, Colorado Scott T. Varholak, United States Magistrate Judge
Printed name and title

 

Return

 

 

This warrant was received on (date) _¢. ZAG 1 b , and the person was arrested on (date) _£ A-/*- Lb

at (city and state) LZ Lut. a, Lo

Date: “/6-7, ZO LA EGE

° esting officer’s signature

L Gul Oftp PA 6MA

Printed name and title

 

 
